vi

Case 2:05-cr-20205JDB Document 17 Filed 06/22/05 -Page 1 of 4 Page|D 30

 

msosnn __
""`Y§ THE UNITED srArEs DISTRICT CoURT man evM_ ga
95 JUN 22 AH 3.- 23 FOR THE WEsTERN DIsTRICT z . --
A'r MEMPHIS 9 .
O§Hc»p§_: a 31 5 JUH 20 m 12. 27

RGb "r[ q D¥T EI'O:JO
UNITED msid§'*i?l§'s oF AMERICA ) mw os_CR_ Cl RK _.~':_D;ST CF
MOTION GRANTED 1_20205_1_}§{)3¢|@.;\

 

VS.

  
  

iron PHIPPs MCCAL\

CHARLES LOVE , ` _U.S. DISTRICT JUDGE

 

as itt j l mm '
MOTION To WAIVE DEFENDANT’S APPEARNCE AT_ REPORT DATE AND
To ALLOW DEFENDANT’S ATTORNEY TO PARTCIPATE vIA TELEPHONE
coNFERENcE & MEMoRANDUM IN sUPPoRT

 

COMES NOW, the Defendant, Charles Love, by and through counsel, Bryan H.
Hoss, and hereby requests that his appearance at the June 22, 2005 report date be waived.
Additionally, the Defendant moves for his attorneys to participate via telephone
conference The Defendant’s attorney resides and practices in Chattanooga, Tennessee,
approximately five (5) and a half hours away. This Motion in no way affects the
Defendant’s rights under the Speedy Trial Act, 18 U.S.C. § 3161, §t_: §e$

Pursuant to local rules, the Defendant’s attorney contacted the United States
Attorney’s Office on June 17, 2005. Assistant U.S. Attorney, Tim DiScenza was out of
town. Therefore, the U.S. Attorney’s Office was unable to support or oppose the motion
as of the filing date.

MEMORANDUM IN SUPPORT

On June 15, 2005, Charles Love entered not-guilty pleas before Magistrate Judge

Pham. Judge Pham schedule a report date, one week later for June 22, 2005 before the

Honorable Judges Breen & McCalla. I-Ie further schedules a trial date on July 5, 2005.

E/7

The Defendant has since filed a request for discovery.

Case 2:05-cr-202051.]DB Document 17 Filed 06/22/05 o’Page 2 of 4 Page|D 31

Mr. Love and the Defendant’s counsel, Bryan Hoss, reside in Chattanooga,
Tennessee, approximately five and half hours from Memphis. It will be unduly
burdensome on the Defendant to require him to return to Mernphis for the scheduled
report date. See Waiver of Charles Love, attached as Exhibit l.

The Defendant respectfully requests to waive his appearance at this report date
and allow his attorney to participate via telephone conference to avoid the expense of

travel to Memphis.

 

 

Bryan H. s, BPR# 021529
508 E. 5th s et

Chattanooga, Tennessee 37403
423-266-0605
423-266_0687-fax

CERTIFICATE OF SERVICE

I cert'l that a true and exact copy of the foregoing was forwarded via U.S. Mail
on this the day of June, 2005, to:

Tirnothy R. DiScenza, Assistant U.S. Attorney
Clifford Davis Federal Building

167 N. Main Street, Suite 800

Mernphis, TN 38103

William H. Farrner, Esq.
Jonathan P. Fanner, Esq.
FARMER & LUNA, PLLC
333 Union Street, Suite 300
Nashville, TN 37201

 

 

 

Case 2:05-cr-20205-.-]DB Document 17 Filed 06/22/05 Page 3 of 4 Page|D 32

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT

AT MEMPHIS

UNITED STATES OF AMERICA )

)

) Case Nos.: 05-CR-20204-l-B~V
vs. ) 05-CR-20205-1-B-V

)

)
CHARLES LOVE )

WAIVER OF PERSONAL APPEARANCE AT REPORT DATE

I, Charles Love, a Defendant in this case, hereby acknowledge the following:

I understand I have the right to appear personally with my attorney before a
judicial officer in open Court on the above-numbered indictment I further understand
that, absent the present waiver, I must appear as directed.

I have conferred with my attorney and fully understand all of the above. I hereby

Waive my personal appearance to report, set for Wednesday June 22, 2005.

CHARLES LOVE

 

F._

 

EXHIBIT

 
 

 

UNITED S`TATE D"iSIC COURT - WESRNTE DSTCT 0 TNNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 17 in
case 2:05-CR-20205 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

Timothy R. DiScenza

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Bryan H. Hoss

DAVIS & HOSS

508 East 5th St
Chattanooga, TN 37403

Honorable J on McCalla
US DISTRICT COURT

